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            EXHIBIT
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                                          Ca
                                                                                         0
                                               AUTO LOAN



                                     Account Details
Loan Details



Account Number                                                                                     8387


Original Loan Amount                                                                          $23,510.27


Open Date                                                                               March 23, 2019


Loan Term                                                                                      73 Month


Maturity Date                                                                             April 7, 2025


Application ID                                                                                164309602


Original APR                                                                                    20.63%


Current APR                                                                                         0%


Borrower                                                                               MICHAEL WOOD



Balance & Payments Details



Monthly Payment                                                                                 $576.60


Today's Payoff Amount                                                                         $6,084.78


Total Principal Paid                                                                          $17,425.49


Total Interest Paid                                                                            $4,293.61


Interest Paid YTD                                                                                 $0.00


Interest Paid in Previous Year                                                                 $1,263.92



Vehicle Details



Vehicle Type                                                                               17 FIAT 500


VIN                                                                                ZFBCFACH1HZO4O262



Delinquency History
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Number of Times Past Due                                                                                                             11




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